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                                UNITED STATES DISTRICT COURT
                                     DISTRICT OF MAINE



BERTRAND GIRARD,                               )
                                               )
                 Plaintiff                     )
                                               )     Civil Action No. 2:16-cv-00165-LEW
        v.                                     )
                                               )
STEPHEN DODD, ROGER                            )
BEAUPRE and CITY OF                            )
BIDDEFORD,                                     )
                                               )
                 Defendants.                   )


REVISED CONSENT MOTION TO DISMISS ALL CLAIMS AGAINST DEFENDANTS
           ROGER BEAUPRE AND THE CITY OF BIDDEFORD

        NOW COMES the Defendants, Roger Beaupre and the City of Biddeford, (hereinafter

collectively “Defendants”) by and through undersigned counsel, and hereby moves for a

dismissal of all claims against Defendants, Roger Beaupre and the City of Biddeford, in the

above referenced matter. In support of its motion, Defendants states the following and attaches

the accompanying certificate of service1:

        1.       The Plaintiff, Bertrand Girard, by and through his attorney, Anthony J. Sineni, III,

desires and has requested a dismissal, with prejudice and without costs, of all claims that brought

or that could have been brought, by him against: (i) the Defendants, Roger Beaupre, in his

individual and official capacity; and (ii) the City of Biddeford, in the above referenced matter.


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  Undersigned counsel, Timothy J. Bryant, apologizes to the Court and other counsel/parties for any confusion
caused by my failure to attach a certificate of service with the Consent Motion to Dismiss filed on April 2, 2019.
Since the April 2nd motion was electronically filed on the CM/ECF system and notification of such filing was
automatically sent to all counsel of record and Pro Se Defendant Stephen Dodd, including, without limitation,
Plaintiff Bertrand Girard’s counsel, Anthony J. Sineni, III (anthony@sinenilaw.com), and Pro Se Defendant,
Stephen Dodd (smd@maine.rr.com), I mistakenly assumed that pursuant to Fed. Civ. P. 5(d)(1)(B) no certificate of
service was required to be filed. Once again, my apologies to the Court and other counsel/parties for any confusion
this may have caused.

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       2.      Defendants, Roger Beaupre and the City of Biddeford are amenable to Mr.

Girard’s request as stated in the preceding paragraph, subject to approval by this Court.

       3.      Pro Se Defendant has indicated to undersigned counsel, Timothy J. Bryant, Esq.

that he has no objection to the filing or granting of this motion.

       4.      This motion and proposed order are also being filed at the request and with the

consent of Plaintiff’s counsel, Anthony J. Sineni, III.

       WHEREFORE, the Defendants, Roger Beaupre and the City of Biddeford, respectfully

requests that the Court grant this motion to dismiss, with prejudice and without costs, all claims

that were brought or that could have been brought, by Plaintiff, Bertrand Girard, against: (i) the

Defendants, Roger Beaupre, in his individual and official capacity; and (ii) the City of

Biddeford, in the above referenced matter.

       DATED at Portland, Maine this 30th day of April 2019


                                       /s/ Timothy J. Bryant_________________________
                                       Timothy J. Bryant, Esq. (Bar No. 7736)
                                       Attorney for Defendant, Roger Beaupre
                                       Preti, Flaherty, Beliveau & Pachios, LLC
                                       One City Center
                                       P. O. Box 9546
                                       Portland, ME 04112-9546
                                       tbryant@preti.com
                                       (207) 791-3000


                                       /s/ Keith R. Jacques____________________________
                                       Keith R. Jacques, Esq. (Bar No. 2962)
                                       Attorney for Defendant, City of Biddeford
                                       Woodman Edmands Danylik Austin Smith & Jacques, PA
                                       234 Main Street
                                       P.O. Box 468
                                       Biddeford, ME 04005
                                       krj@woodedlaw.com
                                       (207) 284-4581



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                                     CERTIFICATE OF SERVICE

        I, Timothy J. Bryant, hereby certify that on April 30, 2019, I electronically filed the
Consent Motion to Dismiss all Claims Against Defendants Roger Beaupre and The City of
Biddeford with the Clerk of the Court using the CM/ECF system which will send notification of
such filing to all counsel of record and Pro Se Defendant Stephen Dodd, including, without
limitation, Plaintiff Bertrand Girard’s counsel, Anthony J. Sineni, III (anthony@sinenilaw.com),
and Pro Se Defendant, Stephen Dodd (smd@maine.rr.com).

       Further, Timothy J. Bryant, I also hereby certify that on April 30, 2019, I separately
arranged for the electronically filed the Consent Motion to Dismiss all Claims Against
Defendants Roger Beaupre and The City of Biddeford to be emailed to all counsel of record and
Pro Se Defendant Stephen Dodd, including, without limitation, Plaintiff Bertrand Girard’s
counsel, Anthony J. Sineni, III (anthony@sinenilaw.com), and Pro Se Defendant, Stephen Dodd
(smd@maine.rr.com).


       Dated: April 30, 2016                /s/ Timothy J. Bryant
                                            Timothy J. Bryant, Esq. (Bar No. 7736)
                                            Attorney for Defendant, Roger Beaupre
                                            Preti, Flaherty, Beliveau & Pachios, LLC
                                            One City Center
                                            P. O. Box 9546
                                            Portland, ME 04112-9546
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                                            (207) 791-3000




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                              UNITED STATES DISTRICT COURT
                                   DISTRICT OF MAINE


BERTRAND GIRARD,                        )
                                        )
                Plaintiff               )
                                        )     Civil Action No. 2:16-cv-00165-LEW
         v.                             )
                                        )
STEPHEN DODD, ROGER                     )                    ORDER
BEAUPRE and CITY OF                     )
BIDDEFORD,                              )
                                        )
                Defendants.             )


         Based on the Motion to Dismiss submitted by Defendants, Roger Beaupre and the City of

Biddeford, and with the consent of Plaintiff, Bertrand Girard, and Defendant, Stephen Dodd, this

Court hereby grants the Motion to Dismiss and hereby ORDERS that all claims that were

brought or that could have been brought, by Plaintiff, Bertrand Girard, against: (i) the

Defendants, Roger Beaupre, in his individual and official capacity; and (ii) the City of

Biddeford, in the above referenced matter, by dismissed with prejudice and without costs as of

the date of this Order.



Dated:
                                              Honorable Lance E. Walker




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